                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )
vs.                                          )    Case No. 05-00344-01/02-CR-W-ODS
                                             )
GARY EYE and                                 )
STEVEN SANDSTROM,                            )
                                             )
                     Defendants.             )

      ORDER AND OPINION ADDRESSING DEFENDANTS’ REQUEST TO INCLUDE
                “RESIDUAL DOUBT” AS A MITIGATING FACTOR


        Prior to the penalty phase of this case, Defendants requested the Court instruct
the jury that it could consider any residual or lingering doubt about guilt as a mitigating
factor that could be weighed when determining the appropriate punishment. The Court
was initially inclined to honor this request, but after further research and consideration
the Court concluded residual doubt is not a valid mitigator. This Order and Opinion is
intended to explain the Court’s rationale.
        Federal courts have not reached consistent conclusions on this issue, and even
those arriving at the same result often do so by different means.1 The Court does not




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         The cases in which the instruction was approved include: United States v.
Bodkins, 2005 WL 1118158 (W.D. Va. 2005) (unpublished opinion); United States v.
Honken, 378 F. Supp. 2d 1041 (N.D. Iowa 2004); United States v. Foster, 2004 WL
868649 (D. Md. 2004) (unpublished order); United States v. Davis, 132 F. Supp. 2d 455
(E.D. La. 2001); see also United States v. Gonzalez, 2004 WL 1920492 (D. Conn.
2004) (unpublished opinion barring evidence because it would improperly undercut the
jury’s consideration of residual doubt). The cases in which the courts held the
instruction is impermissible include: United States v. Caro, 483 F. Supp. 2d 513 (W.D.
Va. 2007); United States v. Lecco, 2007 WL 4224724 (S.D. W.Va. 2007) (unpublished
opinion referencing decision made during open court). Obviously, not all decisions on
the matter have been reduced to writing, and this is not intended to be an exhaustive
list.


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intend to detail the full body of opinions and rationales employed; instead, it will set forth
the analysis found to be compelling.
       The Court concludes, and Defendants do not seriously dispute, that criminal
defendants do not have a constitutional right to have the jury instructed that residual
doubt about guilt is a mitigating factor. E.g., Oregon v. Guzek, 546 U.S. 517, 523-26
(2006). This does not mean a legislature – including Congress – cannot permit or
prescribe such an instruction; it only means there is no constitutional imperative that it
be done. The focus of discussion, then, is whether Congress has permitted or
prescribed such an instruction. Defendants contend the Federal Death Penalty Act
(“FDPA”) grants the trial court discretion to instruct the jury about “[o]ther factors in the
defendant’s background, record or character or any other circumstance of the offense
that mitigate against imposition of the death sentence,” 18 U.S.C. § 3592(a)(8), and
residual doubt qualifies as an “other circumstance of the offense.” The Court disagrees,
concluding Congress did not intend to include residual doubt within the matters
encompassed by section 3592(a)(8).
       Congress passed the FDPA in 1994. Twelve years previously, the Supreme
Court held the jury must be allowed to consider mitigating evidence, which included
evidence about the circumstances of the offense and the character of the offender.
Eddings v. Oklahoma, 455 U.S. 104, 112-13 (1982). A series of cases built upon this
premise, and by 1993 it was well-established that “the Eighth and Fourteenth
Amendments require that the sentencer not be precluded from considering, as a
mitigating factor, any aspect of a defendant’s character or record and any of the
circumstances of the offense that the defendant proffers as a basis for a sentence less
than death.” Johnson v. Texas, 509 U.S. 350, 361 (1993) (listing cases) (internal
quotations, emphasis, and ellipses omitted).
       In the midst of these cases, the Supreme Court discussed whether penalty-
phase instructions were constitutionally infirm for failing to afford the jury an opportunity
to consider residual doubt. The Court started by observing that it “ha[d] never held that
a capital defendant has a constitutional right to an instruction telling the jury to revisit the
question of his identity as the murderer as a basis for mitigation.” Franklin v. Lynaugh,

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487 U.S. 164, 172-73 (1988) (plurality opinion). The Court rejected the suggestion that
its prior cases required such an opportunity, and instead described those opinions as
simply observing that a state could allow for such an opportunity. Id. at 172. The Court
explained that residual doubt does not qualify as an aspect of the defendant’s character,
the defendant’s record, or a circumstance of the offense, so it was not a matter the
Constitution mandated be considered by the jury. Id. at 174.
       It is against this backdrop that the FDPA was passed. Congress was thus aware
that (1) consideration of residual doubt was not constitutionally compelled and (2) it
could authorize consideration of residual doubt if it desired to do so. Clearly, Congress
did not desire to do so. The final, “catch-all” category is couched in the same terms
used by the Supreme Court to define the constitutionally mandated mitigating factors.
By including section 3592(a)(8), Congress indicated its desire to include everything the
Constitution requires, but that section does not purport to extend the statute beyond
those constitutional requirements. Congress was aware of its ability to include
mitigating factors beyond those required by the Constitution, and exercised this
authority by including the first seven statutory mitigating factors. See 18 U.S.C. §
3592(a)(1) - (7). These factors include considerations that would not be (or arguably
would not be) mandated by the Constitution, such as whether another culpable person
is not sentenced to death and whether the defendant’s role is relatively minor in
comparison to others’.
       The Court is particularly unwilling to interpret the FDPA as including this non-
mandatory factor in light of the unusual character of the concept of residual doubt. This
mitigator asks the jury – which has already determined the defendant to be guilty
beyond a reasonable doubt – to consider any remaining doubt about the defendant’s
guilt. This invites the jury to require a defendant’s guilt be proven by more than a
reasonable doubt in order for the death penalty to be imposed, but this transformation of
the burden of proof is contrary to longstanding traditions and principles of our justice
system. It may be, as Defendants suggest, that the argument is effective with juries
when it is allowed. It is also, as stated, undoubtedly within the legislature’s province to
allow for arguments that effectively require the prosecution to satisfy a heightened

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burden of proof. However, absent a clear directive to do so, courts should not allow for
arguments that alter the customary and time-honored burdens imposed on litigants.
       The Court concludes the FDPA does not permit a jury to be instructed that it can
consider residual doubt of guilt when determining an appropriate sentence. The Court
also concludes such an instruction is not constitutionally compelled. For these reasons,
the Court declines Defendants’ requests to tell the jury that residual doubt is a mitigating
factor to be considered when determining whether Defendants should be sentenced to
death or life imprisonment.

IT IS SO ORDERED.



                                                 /s/ Ortrie D. Smith
                                                 ORTRIE D. SMITH, JUDGE
DATE: May 19, 2008                               UNITED STATES DISTRICT COURT




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